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                                  submitting plan and estimate for its improvement; and the Chief of Eugi-
                                  neers shall submit to the Secretary of 'War the reports of the local and
                                  division engineers, with his views thereon and his opinion of the public
                                  necessity or convenience to be subserved by the proposed improvement;
                       be sent and all such reports of preliminary examinations with such recommen-
         Reports OitolRteprosela-
       to House
          Hatiesand printed.      dations as he may see proper to make, shall be transmitted by the See
                                  retary of War to the House of Representatives, and are hereby ordered
                                  to be printed when so made.
         Appropriation for          SEC. 8. For preliminary examinations, contingencies, expenses con-
       examinations. etc.    nected with inspection of bridges, the service of notice required in
                                 such cases, the examination of bridge sites and reports thereon, and
                                 for incidental repairs for which there is no special appropriation for
                                 rivers and harbors, one hundred and twenty-five thousand dollars:
          Provisos.              Provided, That no preliminary examination, survey, project, or esti-
           No survey, etc., un-
        less provided for.       inate tr new works other than those designated in this act shall be
                                 made: And provided further, That after the regular or formal report
                                 on any examination, survey, project, or work under way or proposed is
          No supplemontalre- submitted, no supplemental or additional report or estimate, for the
        ports, etc., tobenmade. samne fiscal year, shall be made unless ordered by a resolution of Con-

                                 gress. The Government shall not be deemed to have entered upon any
                                 project for the improvement of any water way or harbor mentioned in
          'No until
       izNd    project   author- this act until funds for the commencement of the proposed work shall
                      appropria-
        tion ma           roe.   have been actually appropriated by law.
                                    Approved, July 13, 1892.


           July 13,1892.      CHAP. 159.-An Act to punish the carrying or selling of deadly or dangerous
                             weapons within the District of Columbia, and for other purposes.

                                Be it enacted by the Senate and House of Representatives of the United
        District of Colum-    States q America in Congress assembled, That it shall not be lawful fr
       bi,.                   any petsoii or persons within the District of Columbia, to have concealed
         Carrying concealed about their person any deadly or dangerous weapons, such as daggers,
        weatpono forbidden.                            dedy
                             air-guns, pistols, bowie-knives,    nlgrlsagr,
                                                               dirk knives or dirks, blackjacks, razors,
                             razor blades, sword canes, slung shot, brass or other metal knuckles.
         Openly carryitg        SEC. 2. That it shall not be lawful for any person or persons within
       weapons with tolaw-
       ful intent forbidden. the District of Columbia to carry openly any such weapons as hereinbe-
                             fore described with intent to unlawfully use the same, and any person
                             or persons violating either of these sections shall be deemed guilty of
         Punishment, first a misdemeanor, and upon conviction thereof shall, for the first offense,
       ofleuse.               forfeit and pay a fine or penalty of not less than fifty dollars nor more
                             than five hundred dollars, of which one half shall be paid to any one
                              giving information leading to such conviction, or be imprisoned in the
                             jail of the District of Columbia not exceeding six months, or both such
         P ovisos.           fine and imprisonment, in the discretion of the court: Provided, That
         Exceptions.         the officers, non-commissioned officers, and privates of the United
                              States Army, Navy, or Marine Corps, or of any regularly organized
                             Militia Company, police officers, officers guarding prisoners, officials of
                             the United States or the District of Columbia engaged in the execution
                             of the laws for the protection of persons or property, when any of such
                             persons are on duty, shall not be liable for carrying necessary arms
                             for use in performance of their duty: Provided, further, that nothing
         Lawful useofweap- contained in the first or second sections of this act shall be so construed
       ons.                   as to prevent any person from keeping or carrying about his place of
                             business, dwelling house, or premises any such dangerous or deadly
                             weapons, or from carrying the same from place of purchase to his
                             dwelling house or place of business or from his dwelling house or place
                             of business to any place where repairing is done, to have the same re-
                             paired, and back again: Providedfurther, That nothing contained in
                             the first or-second sections of this act shall be so construed as to apply
         Permits.            to any person who shall have been granted a written permit to carry
                              such weapou or weapons by any judge of the police ourt of the District
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of Columbia, and authority is hereby given to any such judge to grant
such permit for a period of not more than one month at any one time,
upon satisfactory proof to him of the necessity for the granting thereof;
and further, upon the filing with such judge of a bond, with sureties to
be approved by said judge, by the applicant for such permit, condi-
tioned to the United States in such penal sum as said judge shall re-
quire for the keeping of the peace, save in the case of necessary self-
defense by such applicant during the continuance of said permit, which
bond shall be put in suit by the United States for its benefit upon any
breach of such condition.
    Sne. 3. That for the second violation of the provisions of either of tyen  P-nisbment. second
                                                                                   e.
the preceding sections the person or persons offending shall be pro-
ceeded against by indictment in the supreme court of the District ot
Columbia, and upon conviction thereof shall be imprisoned in the peni-
tentiary for not more than three years.
    SEc. 4. That all such weapons as hereinbefore described . . which
                                                                  .   may:f iinDispositionofteap-
                                                                               s taken from offend-
be taken from any person offending against any of the provisions ,f er.
this act shall, upon conviction of such person, be disposed of as amy
be ordered by the judge trying the case, and the record shall show any
and all such orders relating thereto as a part of the judgment in the
case.
    SEC. 5. That any person or persons who shall, within the District oi Punishnent forsale
Columbia, sell, barter, hire, lend or give to any minor under the age ,t of weapons to minors.
twenty-one years any such weapon as hereinbefore described shall be
deemed guilty of a misdemeanor, and shall, upon conviction thereof,
pay a fine or penalty of not less than twenty dollars nor more.than one
hundred dollars, or be imprisoned in the jail of the District of Colum-
bia not more than three months. No person shall engage in or conduct Specialin license           for
the business of selling, bartering, hiring, lending, or giving any weapon deers
                                                                                         eapons.

or weapons of the kind hereinbefore named without having previously
obtained from the Commissioners of the District of Columbia a special
license authorizing the conduct of such business by such person, and
the said Commissioners are hereby authorized to grant such license,
without fee therefor, upon the filing with them by the applicant therefor
of a bond with suroties, to be by them approved, conditioned in such
penal sum as they sha1kx to the United States for the compliance by
said applicant with all the provisions of this section; and upon any
breach or breaches of said condition said bond shall be put in suit by
said United States for its benefit, and said Commissioners may revoke
said license. Any person engaging in said business without having pre- Penalty for dealing
viously obtained said special license shall be guilty of a misdemeanor, ithoutlicese.
and upon conviction thereof shall be sentenced to pay a fine of not less
than one hundred dollars nor more than five hundred dollars, of which
one half shall be paid to the informer, if any, whose information shall
lead to the conviction of the person paying said fine. All persons whose Register of sales, etc.
business it is to sell barter, hire, lend or give any such weapon or
weapons shall be and they hereby, are, required to keep a written regis-
ter of the name and residence of every purchaser, barterer, hirer, bor-
rower, or donee of any such weapon or weapons, which register shall
be subject to the inspection of the major and superintendent of Metro-
 politan Police of the District of Columbia, and further to make a weekly
report, under oath to said major and superintendent of all such sales,
 barterings, hirings, lendings or gifts. And one half of every fine im- Half of fine to in-
 posed under this section shall be paid to the informer, if any, whose former.
 information shall have led to the conviction of the person paying said
 fine. Any police officer failing to arrest any person guilty in his sight Penalty for failure
or presence and knowledge, of any violation of any section of this act to arrest by officers.
 shall be fined not less than fifty nor more than five hundred dollars
    SEc 6. That all acts or parts of acts inconsistent with the provisions Repeal.
of this act be, and the same hereby are, repealed.
    Approved, July 13, 1892,
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            July 13, 1892.           CHAP. 160.-An act authorizing The Aransas Harbor Terminal Railway Company
                                   to construct a bridge across the Corpus Christi Channel, known as the Morris and
                                   Cummings Ship Channel, in Aransas County, Texas.

                                     Be it enacted by the Senate and House of Representatives of the United
          Aransas Harborand        States of America in Congress assembled, That The Aransas Harbor
       Terminal  Railway
       Comipany may  bridge Terminal Railway Company, a corporation chartered under the laws of
       Corpus Christi Cha - the State of Texas, is hereby authorized and empowered to erect, con-
       nel, Tex.            struct, maintain, and operate a bridge over and across the Corpus
                                   Christi Channel, known as the Morris and Cummings Ship Channel, in
          Railway bridge.          Aransas County, Texas.       Said bridge shall be constructed to provide
                                   for the passage of railway trains on and over a double or single track
                                   as said Aransas Harbor Terminal Railway Company may elect.
          Draw.                      SEC. 2. That said bridge shall be constructed with a draw or turn of
                                   sufficient capacity to afford free passage to such vessels and boats as
         Proviws.                  navigate said channel: Provided, That said bridge shall be opened
         Opening draw.             promptly upon reasonable signal for the passage of boats and other
                                   water craft, except when trains are passing over the draw or turn; but
                                   in no case shall unnecessary delay occur in opening the draw or turn
                                   after the passage of trains or at any other time; and the said Aransas
                                   Harbor Terminal Railway Company shall maintain at its own expense,
          Lights, etc.             from sunset to sunrise, such lights or other signals on said bridge as
                                   the United States Light-House Board shall prescribe.           And no bridge
                                   shall be erected and maintained under the authority of this act which
         Unobstructed navi- shall at any time substantially or materially obstruct the free naviga-
       gation.                     tion of said channel; and if any bridge erected under such authority
                                   shall, in the opinion of the Secretary of War, obstruct such navigation,
                                   he is hereby authorized to cause such change or alteration of such
                                   bridge to be made as will effectually obviate such obstruction, and all
                                   such alterations shall be made and all such obstructions be removed at
                                   the expense of the owner of said bridge. And in case of any obstruc-
                                   tion, or alleged obstruction, to the navigation of said channel, caused, or
         Litigation.               alleged to be caused, by said bridge, the case may be brought in the
                                   circuit court of the United States. in which any portion of said obstruc-
         Existing laws not tion or bridge may be located: Provided further, That nothing in this
       affected.
                                   act shall be so construed as to repeal or modify ant of the provisions of
                                   law now existing in reference to the protectiondfd navigation of rivers,
                                   or to exempt this bridge from the operations of the same. That all
        Use by other         o.-   railroad companies desiring the use of any bridge constructed under
       paies.                      this act shall have and be entitled to equal rights and privileges rela-
         Terms.                    tive to the passage of railway trains or cars over the same and over
                                   the approaches thereto upon payment of a reasonable compensation for
                                   such use; and in case the owner or owners of said bridge, and the sev-
                                   eral railroad companies, or any one of them desiring such use, shall fail
                                   to agree upon the sum or sums to be paid, and upon rules and condi-
                                   tions to which each shall conform in using said bridge, all matters at
                                   issue between them shall be decided by the Secretary of War upon a
                                   hearing of the allegations and proofs of the parties.
         Secretary of war to         SEC. 3. That any bridge authorized to be constructed under this act
       approve plans, etc.         shall be located and built under and subject to such regulations for the
                                   security of said channel as the Secretary of War shall prescribe; and
                                   to secure that object, the said corporation shall, at least two months
                                   previous to the commencement of the construction of said bridge, sub-
                                   mit to the Secretary of War, for his examination and approvi4l, a design
                                   and drawing of the bridge and a map of the location, giving such in-
                                   formation as may be necessary to enable the Secretary of War to judge
                                   of the proper location of said bridge, and shall furnish such infornia-
                                   tion as may be required for a full and satisfactory understanding of the
                                   subject; and until such plan and location of the bridge are approved
                                   by the Secretary of War, the bridge shall not be built; and should any
         Changes,                  change be made in the plan of said bridge during the progress of con-
                                   struction or after completion such change shall be subject to the ap-
                                   proval of the Secretary of War.
